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TO: Clerk’s Office
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
________________________________________

     APPLICATION FOR LEAVE
   TO FILE DOCUMENT UNDER SEAL

                                                                                           A) If pursuant to a prior Court Order:
********************************                                                           Docket Number of Case in Which Entered:___________________
                                                                                           Judge/Magistrate Judge:__________________________________
UNITED STATES OF AMERICA
                                                                                           Date Entered:___________________________________________
                 -v.-                                 22-MJ-1139
            -v.-                                      _____________________
ANTON NAPOLSKY,                                       Docket Number
also known as “Anton Napolskiy,”
********************************
                                                                                           B) If a new application, the statute, regulation, or other legal basis that
                                               ✔
SUBMITTED BY: Plaintiff____ Defendant____ DOJ ____                                         authorizes filing under seal
       Chand Edwards-Balfour
Name:__________________________________________
Firm Name:______________________________________
          USAO-EDNY                                                                        Ongoing criminal investigation
                                                                                           __________________________________________________________
Address:_________________________________________
          271A Cadman Plaza East                                                           __________________________________________________________
________________________________________________
          Brooklyn, NY 11201
Phone Number:___________________________________
               917-588-7293                                                                ORDERED SEALED AND PLACED IN THE CLERK’S OFFICE,
E-Mail Address:___________________________________
               chand.edwards-balfour@usdoj.gov                                             AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                           THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO ✔ __                                            10/21/22
If yes, state description of document to be entered on docket sheet:                       DATED: Brooklyn           , NEW YORK

__________________________________________________                                         _________________________________________________________

__________________________________________________                                         U.S. MAGISTRATE JUDGE

                                                                                           RECEIVED IN CLERK’S OFFICE___________________________
                                                                                                                            DATE
MANDATORY CERTIFICATION OF SERVICE:
A.) ___ A copy of this application either has been or will be promptly served upon all parties to this action, B.) ___ Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:______; or C.) ____This is a criminal document submitted, and flight public safety, or security are significant concerns.
(Check one)

                           10.21.2022
                           __________________                  ______________________________
                              DATE                                      SIGNATURE

                                                                                                             EXHIBIT 2
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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                 __________   Districtofof
                                                                        New  York
                                                                           __________

                  United States of America
                             v.                                    )
                    VALERIIA ERMAKOVA                              )        Case No.    22-MJ-1139
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      VALERIIA ERMAKOVA                                                                                  ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information             ✔ Complaint
                                                                                                                     u
u Probation Violation Petition            u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  T. 17, U.S.C., § 506(a)(1)(A) (criminal copyright)




Date:         10/21/2022
                                                                                          Issuing officer’s signature

City and state:       Brooklyn, New York                                               Honorable Sanket J. Bulsara
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title
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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                 __________   Districtofof
                                                                        New  York
                                                                           __________

                  United States of America
                             v.                                    )
                    ANTON NAPOLSKY,                                )        Case No.    22-MJ-1139
              also known as “Anton Napolskiy,”                     )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      ANTON NAPOLSKY, also known as “Anton Napolskiy,”                                                   ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information             ✔ Complaint
                                                                                                                     u
u Probation Violation Petition             u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  T. 17, U.S.C., § 506(a)(1)(A) (criminal copyright)




Date:         10/21/2022
                                                                                          Issuing officer’s signature

City and state:       Brooklyn, New York                                               Honorable Sanket J. Bulsara
                                                                                            Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                         Arresting officer’s signature



                                                                                            Printed name and title
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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
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  KTF:AFM/CWE/ANR
  F. #2021R01001

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------X                            To Be File Under Seal

  UNITED STATES OF AMERICA                                COMPLAINT AND
                                                          AFFIDAVIT IN
             - against -                                  SUPPORT OF AN
                                                          APPLICATION FOR
  ANTON NAPOLSKY,                                         TWO ARREST WARRANTS
    also known as “Anton Napolskiy,”
                                                          (T. 17, U.S.C., § 506(a)(1)(A); T. 18, U.S.C.,
  and                                                     § 2)
                                                                  22-MJ-1139
  VALERIIA ERMAKOVA,

                           Defendants.

  ---------------------------X

  EASTERN DISTRICT OF NEW YORK, SS:

                 Brett Dohnal, being duly sworn, deposes and states that he is a Special Agent with

  the Federal Bureau of Investigation, duly appointed according to law and acting as such.

                 In or about and between January 2019 and October 2022, both dates approximate

  and inclusive, within the Eastern District of New York and elsewhere, the defendants ANTON

  NAPOLSKY, also known as “Anton Napolskiy,” and VALERIIA ERMAKOVA, together with

  others, did knowingly and willfully infringe a copyright for purposes of commercial advantage

  and private financial gain, and by the reproduction and distribution during a 180-day period ten

  or more copies of one or more copyrighted works having a total retail value of more than $2,500,

  to wit: the unauthorized sale of copyrighted works in the form of digital books (“ebooks”) on Z-

  Library, a digital piracy website controlled by NAPOLSKY and ERMAKOVA.
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                                                                                                     2

                   (Title 17, United States Code, Section 506(a)(1)(A); Title 18, United States Code,

  Section 2)

                   The source of your deponent’s information and the grounds for his belief are as

  follows: 1

                   1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and

  have been since February 2012. I have extensive experience investigating international crimes,

  including money laundering and wire fraud, and tracking online subjects who have taken

  measures to obfuscate who they are and where they are operating. I am familiar with the facts

  and circumstances set forth below from my participation in the investigation; my review of the

  investigative file; and from reports of other law enforcement officers involved in the

  investigation.

                   2.     I am participating in an investigation of the defendants ANTON

  NAPOLSKY and VALERIIA ERMAKOVA and others who engaged in a scheme to infringe

  copyrights of published books. The scheme operated through online websites that allow users to

  fraudulently upload and download the intellectual property of thousands of artists, including

  artists located within Brooklyn, Queens, and elsewhere throughout the Eastern District of New

  York. Based on the findings of my investigation, NAPOLSKY and ERMAKOVA are based in

  Russia.




            1
                 Because the purpose of this Complaint is to set forth only those facts necessary to
  establish probable cause to arrest, I have not described all the relevant facts and circumstances of
  which I am aware. Where the contents of documents, and the actions, statements and
  conversations of others are reported, they are in substance and in part, and in approximations,
  except where otherwise indicated.
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                                                                                                         3

                                             BACKGROUND

     A. Background Regarding Z-Library

                 3.      Z-Library is a website that bills itself as “the world’s largest library” and

  claims to offer millions of ebooks for download. Z-Library has been active since approximately

  2009 and offers copyright-protected ebook files in a variety of file formats and encourages users

  to upload and download titles.

                 4.      Many of the ebooks offered by Z-Library are protected intellectual

  property for which authors hold copyrights and publishers hold exclusive distribution rights, and

  which Z-Library has no right or license to distribute. As such, a central purpose of Z-Library is

  allowing users to download copyrighted books for free in violation of U.S. copyright law.

                 5.      The copyright crimes perpetrated by the defendants ANTON NAPOLSKY

  and VALERIIA ERMAKOVA through Z-Library described herein have had devastating effects

  on all manner of victims, including authors, publishers, authors’ estates (including ones which

  donate their proceeds to charity), independent bookstores, large commercial bookstores, and

  legitimate ebooks sellers. By making millions of copyrighted works available online for free,

  while encouraging users to pay for enhanced Z-Library features, Z-Library has robbed

  individuals of the fruits of their labor—which, for some literary works, represents years or even

  decades of work—for NAPOLSKY and ERMAKOVA’s personal gain, as described further

  below.

                 6.      Z-Library consists of dozens of interrelated websites. Its homepage at

  https://z-lib.org displays links to three different domains in the center of the page: “Books”

  (b-ok.cc), “Articles” (booksc.org), and “Sign In/Up” (singlelogin.org). A screenshot of the

  homepage for https://z-lib.org is below:
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                 7.      Z-Library book titles are accessible from United States IP addresses at the

  site https://b-ok.cc, which features a search bar and the covers of “Most Popular” titles. Users

  can search for books by title, author, ISBN or publisher, and they may also perform full-text

  searches for words and phrases.

                 8.      Users who visit https://b-ok.cc can download a limited number of titles per

  day without creating a Z-Library account, but certain functions (including the ability to upload

  new files, request files, and download files in a variety of file formats) are only available to users

  with a Z-Library account.

                 9.      The domains https://b-ok.cc and https://booksc.org include “Donate” links

  in the upper right corner. For a donation of $1.00 or more, users can upgrade their account to

  “Premium” status, which unlocks certain features, including the ability to allow users to convert

  their files to various formats beyond the default format, and access to relevant URLs for

  downloading purposes. Z-Library accepts payment via Visa, American Express, Alipay,

  Bitcoin, and Amazon.com gift cards.

                 10.     Z-Library’s collection of titles appears to come from several sources,

  including its users, who are encouraged to upload new titles. Notably, there are online tutorials
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   that demonstrate how one can circumvent the copyright protections on proprietary ebook formats

   (such as Amazon Kindle titles) so that the formerly protected books can be recirculated and

   uploaded to services like Z-Library.

                                          PROBABLE CAUSE

      A. Evidence of the Defendant ANTON NAPOLSKY’s Control of Z-Library

                   11.   Records obtained by law enforcement from Google LLC (“Google”) and

   Amazon, Inc. (“Amazon”) provide evidence of the defendant ANTON NAPOLSKY’s control of

   Z-Library.

                a. Google Records

                   12.   According to Google records, the defendant ANTON NAPOLSKY has an

   account with Google Pay, Google’s proprietary e-payment system. The account is registered in

   the name “Anton Napolsky” (an alternate transliteration of NAPOLSKY’s Cyrillic name) and is

   associated with the email address Napolsky7@gmail.com.

                   13.   The defendant ANTON NAPOLSKY also appears to control a series of

   interrelated Z-Library email addresses. Based on my investigation, I know that

   donation.zlib@gmail.com, zlibdoms@gmail.com and feedback.bookos@gmail.com, are all

   email addresses used by Z-Library. Specifically, Z-Library has at times requested that

   donations be sent to variations on the email address donation.zlib@gmail.com.

   Feedback.bookos@gmail.com is the email address associated with Z-Library in connection with

   various publicly available records. In addition, the same secondary or backup email address, m-
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   m@mail.ru (“Napolsky Personal Email-1”) 2 was used to register zlibdoms@gmail.com,

   Napolsky7@gmail.com, and feedback.bookos@gmail.com.

                   14.   Google records reflect that a Russian-based telephone number ending in

   - 2458 (“Napolsky Phone-1”) was used to register the email Napolsky7@gmail.com as well as

   the emails donation.zlib@gmail.com, zlibdoms@gmail.com and feedback.bookos@gmail.com.

                   15.   Google records also reflect that the account associated with the email

   address feedback.bookos@gmail.com was created with the name “Z-Library Team” and

   feedback.bookos@gmail.com is the recovery e-mail for the account zlibsupp@gmail.com, which

   was created with the name “ZLibrary Support.” Similarly, zlibsupp@gmail.com is the recovery

   e-mail account associated with the email address zlibdonat@gmail.com, that was created with

   the name “Zlibrary Mailer.”

              a.     Amazon Records

                   16.   Records obtained by law enforcement from Amazon also provide evidence

   of the defendant ANTON NAPOLSKY’s control of Z-Library. Specifically, NAPOLSKY is the

   owner of at least two Amazon.com accounts that are registered in his name, with the phone

   number as Napolsky Phone-1 and overlapping street addresses (mostly located in Saint

   Petersburg, Russia). One of the accounts is registered with the email address

   “amazon@bookmail.org,” and the other account, which is registered with Napolsky Personal

   Email-1, has a lengthy Amazon order history that includes at least 21 orders that were paid for

   using Amazon.com gift cards that originated as “donations” by users to Z-Library. Since these




          2
            According to subscription records obtained from Google, Napolsky Personal Email-1 is
   the email address associated with the Google account registered with the name “Anton
   Napolsky.”
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   gift cards were originally donated to Z-Library, their value should only be available to someone

   who has access to Z-Library’s fund of donated Amazon credit.

      B. The Defendant ANTON NAPOLSKY Uses Amazon Web Services to Correspond on

          Behalf of Z-Library

                  17.    Z-Library uses Amazon Web Services (“AWS”) Simple Email Service for

   bookmail.org. According to records obtained by law enforcement from Amazon, the Simple

   Email Service for @bookmail.org is connected to an AWS Account ending in 4421, which is

   registered to the customer “Anton Napolsky” at the email address Napolsky Personal Email-1,

   (the “Napolsky AWS Account”).

                  18.    Based on records obtained by law enforcement from AWS, I have

   observed that the Napolsky AWS Account sent tens of thousands of messages from email

   addresses at the domain bookmail.org (the domain associated with Z-Library’s customer service

   function) to a widely varying set of what appear to be personal email addresses, located at

   common personal email domains like gmail.com and aol.com, as well as more than twelve

   thousand email addresses at “.edu” domains, which generally denote educational institutions.

   Further, the Napolsky AWS Account also sent emails for account creation purposes and

   password resets.

                  19.    Some of the email logs that I observed from the Napolsky AWS Account

   related to messages that were sent out by Z-Library and returned, or “bounced back,” by the

   intended recipient. Such messages generally included the subject line of the original message

   sent from bookmail.org. Overall, more than 700 of such subject lines contained references to

   Z-Library, including hundreds of messages with the subject line “Z-Library – confirmation.”
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                 20.     Dozens of other message subject lines included references to donations.

   For example, a message that bounced back on November 27, 2021 had a subject line that

   included the phrase: “Z-Library (aka b-ok and 1lib) fundraising campaign. Last call (Visa cards

   are accepted now).”

                 21.     Other messages appeared to reflect automated alerts requested by users

   about the availability of books in Z-Library’s database. For example, a message that bounced

   back on November 21, 2021 had the subject line “Z-Library. Notice of appearance of the book.”

   Another message, which bounced back on November 28, 2021, had the subject line “ZLibrary

   ZAlerts: new books found.” And a message from November 16, 2021 included the subject line:

   “Library ZAlerts: new books found on ‘Healing.’”

                 22.     FBI agents, acting in an undercover capacity, have requested copyrighted

   books from Z-Library using the service’s “send by email” function. The titles arrived, without

   copyright protections, as attachments to messages from the email address mailer@bookmail.org.

   Bookmail.org is the domain associated with emails from Z-Library’s customer service personnel.

      C. Evidence of the Defendant VALERIIA ERMAKOVA’s Control of Z-Library

                 23.     Evidence also establishes the defendant VALERIIA ERMAKOVA’s

   control of Z-Library and her association with the defendant ANTON NAPOLSKY.

                 24.     Based on my investigation, I understand that an Amazon gift card

   donation was made to Z-Library in or around January 2021 (the “Donation”). In response, the

   individual who made the Donation received an email message from the account

   zlibsupp@gmail.com that stated, in sum and substance, that the card had been received.

                 25.     According to records obtained by law enforcement from Amazon, the

   Donation was claimed by an Amazon customer account ending in -1502 (the “1502 Account”),
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   registered to customer “Valeriia” at email address kawaiihito22@gmail.com (“Ermakova

   Personal Email-1”). The account was registered on November 30, 2018, and has payment

   methods on file, including a Visa and a Mastercard in the name of Ermakova Valeriya 3 with the

   billing address for each of Fontanka River Embankment 24 18, St. Petersburg, Russia.

   Additionally, there is a Mastercard in NAPOLSKY’s name on the 1502 Account with a billing

   address in New Castle, Delaware. Based on an open-source search, it appears that the address is

   registered to a shipping company that provides mail forwarding services.

                  26.    Since March 20, 2019, the 1502 Account has placed more than 110 orders

   totaling over $13,628.32, most of them for beauty and apparel products. The recipients of the

   gift cards have various email addresses, but many of the email addresses follow the naming

   convention “zlibdonat+[numbers]@gmail.com” or are registered to the domain

   “@bookmail.org,” indicating that they were likely “donated” by Z-Library users. Of the 110

   orders on the account associated with Z-library “donated” gift cards, over 100 were shipped to

   “Valeriya Ermakova” or “Valeriya Yermakova” at the address Fontanka River embankment, St.

   Petersburg, Russia. Since these gift cards were originally donated to Z-Library, their value

   should only be available to someone who has access to Z-Library’s fund of donated Amazon

   credit.

                  27.    Based on subscription records obtained by law enforcement from Google,

   the Google account associated with Ermakova Personal Email-1 logged on numerous times from

   IP addresses that were also used to log into the accounts associated with the email addresses

   zlibsupp@gmail.com and feedback.bookos@gmail.com, indicating that a single internet access



             3
                   I believe, based on what I have learned in this investigation, that “Valeriya
   Ermakova” is the defendant VALERIIA ERMAKOVA and that ERMAKOVA uses slightly
   different spellings of her name.
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   point (such as a home or business internet connection) was used to log in to all three accounts.

   For example, each of the accounts logged in from the IP address 5.8.39.0 as indicated below:

                      Account                                          Time Stamp
   feedback.bookos@gmail.com                                10/27/2021 8:48:31 AM
   zlibsupp@gmail.com                                       10/27/2021 8:55:31 AM
   Ermakova Personal Email-1                                10/27/2021 8:55:31 AM
   zlibsupp@gmail.com                                       10/27/2021 8:55:31 AM
   feedback.bookos@gmail.com                                10/30/2021 9:49:14 PM
   zlibsupp@gmail.com                                       10/30/2021 9:49:39 PM
   Ermakova Personal Email-1                                10/30/2021 9:49:39 PM
   Ermakova Personal Email-1                                10/31/2021 8:58:57 AM
   zlibsupp@gmail.com                                       10/31/2021 8:58:58 AM
   Ermakova Personal Email-1                                11/3/2021 3:33:39 PM
   zlibsupp@gmail.com                                       11/3/2021 3:33:36 PM
   Ermakova Personal Email-1                                11/6/2021 11:13:14 AM
   zlibsupp@gmail.com                                       11/6/2021 11:13:15 AM
   Ermakova Personal Email-1                                11/7/2021 8:23:02 PM
   zlibsupp@gmail.com                                       11/7/2021 8:23:03 PM

                  28.    Additionally, according to records received from AWS, both the

   defendants ANTON NAPOLSKY and VALERIIA ERMAKOVA logged on to their respective

   AWS account and made Amazon orders from the IP Address 5.8.39.0 interchangeably and

   sometimes around the same time. For example, on November 14, 2020, NAPOLSKY and

   ERMAKOVA logged on to their respective AWS account from the above-referenced IP Address

   within approximately 26 minutes of each other and on February 6, 2021, NAPOLSKY and

   ERMAKOVA logged on to their respective AWS account a few hours apart.

      D. Evidence of the Defendants ANTON NAPOLSKY and VALERIIA ERMAKOVA’s
         Control Over Z-Library and Their Collaboration

                  29.    Based on records received from Google, including a search warrant for the

   accounts Ermakova Personal Email-1 and Napolsky Personal Email-1 signed by the Honorable

   Vera M. Scanlon, United States Magistrate Judge, Eastern District of New York, law
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   enforcement has identified communications that show the defendants ANTON NAPOLSKY and

   VALERIIA ERMAKOVA’s interactions with each other and Z-Library. See Magistrate Docket

   Number 22-936. Some of these communications are excepted below:

             a. On or about November 28, 2014, Napolsky Personal Email-1 received an email

                from adwords-noreply@google.com that was also received by

                support.wikilife@gmail.com and feedback.bookos@gmail.com. Google Ads

                (formerly Google Adwords) is an online advertising platform developed by

                Google, where advertisers bid to display brief advertisements, service offerings,

                product listings, or videos to web users. It can place ads both in the results of

                search engines like Google Search and on non-search websites, mobile apps, and

                video. This email indicates that the defendant ANTON NAPOLSKY was using

                the services of Google Adwords to advertise Z-Library, as excerpted below.
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            b. On or about January 23, 2020, Napolsky Personal Email-1 received an email

               addressed to “Anton N.” from an internet domain service company with an

               invoice for renewing booksc.org for one year. An excerpt of the email is

               depicted below.




            c. On or about June 12, 2019 and August 17, 2019, the email accounts

               admin@bookmail.org and feedback.bookos@gmail.com received emails from the

               email address jira@zlibrary.atlassian.net. Similarly, on or about January 10, 2022,

               January 14, 2022 and March 22, 2022, Ermakova Personal Email-1 received

               emails from the email address jira@zlibrary.atlassian.net. Atlassian Corporation

               Plc is an Australian software company that develops products for software

               developers, project managers and other software development teams, including a

               task management program called Jira. Updates regarding a Jira project are sent

               out to team members from a central, automated email account. The receipt of
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                  these emails indicates that the defendants ANTON NAPOLSKY and VALERIIA

                  ERMAKOVA were collaborating regarding Z-Library software, and that Z-

                  Library had an account with Atlassian Corporation Plc. Translated excerpts of the

                  emails to Ermakova Personal Email-1 are below and indicate that the tasks

                  ERMAKOVA requested were completed by individuals working with

                  ERMAKOVA and NAPOLSKY. 4




         4
             The translations contained herein are drafts.
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              d. On or about October 25, 2018, Napolsky Personal Email-1 received an email from

                  Ermakova Personal Email-1 attaching what appears to be an electronic version of

                  the book “Dare to Lead: Brave Work. Tough Conversations. Whole Hearts,”

                  depicted below.




                  WHEREFORE, your deponent respectfully requests that the defendants ANTON

   NAPOLSKY and VALERIIA ERMAKOVA be dealt with according to law.

                  It is further requested that this Court issue an order sealing, until further order of

   the Court, all papers submitted in support of this application, including the application and arrest

   warrants. I believe that sealing this document is necessary because the warrant is relevant to an

   ongoing investigation and, based upon my training and experience, I have learned that criminals

   actively search for criminal affidavits and warrants via the internet, and disseminate them to

   others as they deem appropriate, e.g., by posting them publicly online. Premature disclosure of
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   the contents of this affidavit and related documents may have a significant and negative impact

   on the continuing investigation and may severely jeopardize its effectiveness, particularly given

   the defendants’ location overseas.




                                                Brett Dohnal
                                                Special Agent
                                                Federal Bureau of Investigation


   Sworn to me through the transmission of this
   Affidavit by reliable electronic means, pursuant to
   Federal Rules of Criminal Procedure 41(d)(3) and 4.1, this
     21st of October, 2022
   _____

   ____________________________________________
   THE HONORABLE SANKET J. BULSARA
   UNITED STATES MAGISTRATE JUDGE
   EASTERN DISTRICT OF NEW YORK
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   KTF:AFM/CWE/ANR
   F.#2021R01001

   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

   UNITED STATES OF AMERICA                                             TO BE FILED UNDER SEAL

             - against -                                                APPLICATION FOR SEALING
                                                                        AND LIMITED UNSEALING ORDER
   ANTON NAPOLSKY,
   also known as “Anton Napolskiy,”                                     22-MJ-1139

   and

   VALERIIA ERMAKOVA,

                                 Defendants.

   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                       1.        On October 21, 2022, Magistrate Judge Sanket J. Bulsara signed a

   complaint and arrest warrants for the above-captioned defendants, certain of whom are currently

   at-large outside the United States. Should any of these defendants be arrested overseas, the

   government may seek extradition or expulsion from a third country into the United States.

   Unless and until extradition or expulsion is ordered, there is a possibility that the defendants may

   seek to flee to a foreign jurisdiction outside of the reach of the United States government.

   Accordingly, Judge Bulsara granted the government’s request for the complaint and arrest

   warrants in this matter to be filed under seal.



                       2.        The government hereby respectfully moves to unseal the complaint and

   arrest warrants for the limited purposes of disseminating the complaint and arrest warrants to law

   enforcement personnel, including foreign law authorities and authorities in a foreign Ministry of
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   Justice, as well as the U.S. Department of State, in connection with efforts to prosecute the

   defendants or to secure their arrests, extraditions or expulsions, and to provide the complaint to

   the defendants and their counsel subsequent to arrest. The government requests that the

   complaint and arrest warrants otherwise remain under seal.


                                                         BREON PEACE
                                                         UNITED STATES ATTORNEY
                                                         EASTERN DISTRICT OF NEW YORK
                                                                                Digitally signed by CHAND
                                                          CHAND EDWARDS- EDWARDS-BALFOUR
                                                                         Date: 2022.10.21 09:21:51
                                                          BALFOUR
                                                 By:                     -04'00'


                                                         Chand W. Edwards-Balfour
                                                         Assistant U.S. Attorney
                                                         (718) 254-6238


   Dated: October 21, 2022
          Brooklyn, New York




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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

   UNITED STATES OF AMERICA                                             TO BE FILED UNDER SEAL

             - against -                                                SEALING AND
                                                                        LIMITED UNSEALING ORDER
   ANTON NAPOLSKY,
   also known as “Anton Napolskiy,”                                     22-MJ-1139

   and

   VALERIIA ERMAKOVA,

                                 Defendants.

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                       Upon consideration of the motion filed by the United States of America by

   Assistant United States Attorney Chand W. Edwards-Balfour, for an Order to seal the above-

   captioned complaint and arrest warrants, and unseal the complaint and arrest warrants for the

   limited purposes of disseminating the complaint and arrest warrants to law enforcement

   personnel, including foreign authorities, in connection with efforts to prosecute the defendants or

   secure their arrests, extraditions or expulsions, and to provide the complaint and arrest warrants

   to the defendant and defense counsel,

                       IT IS HEREBY ORDERED that the complaint and arrest warrants in this matter

   be sealed



                       IT IS FURTHER ORDERED that the complaint and arrest warrants be unsealed

   for the limited purposes of disseminating the complaint and arrest warrants to law enforcement

   personnel, including foreign law authorities and authorities in a foreign Ministry of Justice, as
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   well as the U.S. Department of State, in connection with the efforts to prosecute the defendants

   or secure their provisional arrests, extraditions or expulsions, and to provide the complaint and

   arrest warrant to the defendants and their counsel subsequent to arrest. The complaint and arrest

   warrants will otherwise remain under seal.


                                                 _____________________________________
                                                 HONORABLE SANKET J. BULSARA
                                                 UNITED STATES MAGISTRATE JUDGE
                                                 EASTERN DISTRICT OF NEW YORK

   Dated: October 21, 2022
          Brooklyn, New York




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